Case 1:18-cr-00254-E.]L Document 1 Filed 08/15/18 `Page 1 of 3

BART M. DAVIS, IDAHO STATE BAR NO. 2696
UNITED STATES ATTORNEY

CHRISTIAN S. NAFZGER, IDAHO STATE BAR NO. 6286
KATHERINE L. HORWITZ, OKLAHOMA STATE BAR NO. 30110
ASSISTANTS UNITED STA'I`ES ATTORNEY

DIS_TRICT OF IDA_HO

WASHINGTON GROUP'PLAZA IV, SUITE 600

800 EAST PARK BOULEVARD

BOISE, IDAHO 83712-7788

TELEPHONE: (208) 334-1211

FACSIMILE: (208) 334-1038

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF lDAHO

. UNITED STA'I`ES OF AMERICA, CH 1 §§ m

Case No.

Plaimiff,
INDICTMENT

VS.

PAVEL MATLASHEVSKY,

 

Defendant.

The Grand Jury oharges:

COUNT ONE

Distributing Heroin
21 U.S.C. § 841(a)(1) and (b)(l)(C)

U.S. COUF{TS

AUG 1 5 2018

_,___..Fi|od Ume
Hcvd STEPl-i\£i'\| W. K`ENYON
CLEHK. DlSTR\CT OF |DAHO

 

 

02 5 /+ 5 EJL

21 U.S.C. §§ 841(3)(1),(1;»)(1)((:) and 353

On or about March 3, 2016, in the District of Idaho, the defendant, PAVEL

MATLASHEVSKY, did knowingly and intentionally distribute heroin, a Schedule l controlled

Substance, in violation of Title 21, United States Code, Section 84](a)(l) and (b)(l)(C).

INDICTMENT - l

Case 1:18-cr-00254-E.]L Document 1 Filed 08/15/18 Page 2 of 3

COUNT TWO

Distributing Heroin
21 U.S.C. § 84l(a)(1) and (b)(l)(C)

On or about Apn`l l4, 2016, in the District of ldaho, the defendant, PAVEL
MATLASHEWSKY, did knowingly and intentionally distribute heroin, a Schedule l controlled

substance, in violation of Title 21, United States Cod'e, Section 84l(a)(l) and (b)(l)(C).

CRIMINAL FORFEITURE ALLEGATION

Drug Forfeiture
21 U.S.C. § 853

Upon conviction of one of the offenses alleged in Counts One and Two of this
Indictment, the defendant, PAVEL MATLASHEVSKY, shall forfeit to the United States any
and all property, real and personal, tangible and intangible, consisting or derived from any
proceeds the said defendant obtained directly or indirectly as a result of the foregoing offenses;
and any and all property, real and personal, tangible and intangible, used or intended to be used,
in any manner or part, to commit, or to facilitate the commission of, the foregoing offense The

property to be forfeited includes, but is not limited to, the following:

l. Unrecovered Cash Proceeds and/or Facilitating Propertv. The defendant obtained
and controlled unrecovered proceeds of the offense of conviction, or property derived from or
traceable to such proceeds, and property the defendant used to facilitate the offense (if
facilitation is alleged) but, based upon actions of the defendant, the property was transferred,
diminished, comingled, or is otherwise unavailable

2. Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,

the government will seek forfeiture _of substitute assets, “or any other property of the defendant”

INDICTMENT - 2

Case 1:18-cr-00254-E.]L Document 1 Filed 08/15/18 Page 3 of 3

up to the value of the defendant’s assets subject to forfeiture. The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

c. \Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

e. Has been commingled With other property which cannot be subdivided
Without difficulty.

- +',».
Dated this \4' day of August, 2018.

A TRUE BILL

/s/ [Signature on reverse]

 

Foreperson

BART M.` DAVIS
United States Attorney

By l
@;§Ms/

Christian S. Nafzger ‘ \ ‘
Assistant United States A_ttorney

 

INDICTMENT - 3

